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                               CASE NO. 23-1268



              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE NINTH CIRCUIT



                    PANOCHE ENERGY CENTER, LLC,
                                   Petitioner,
                                       v.
   U.S. ENVIRONMENTAL PROTECTION AGENCY; MICHAEL REGAN,
    Administrator of the U.S. Environmental Protection Agency, in his official
capacity; and MARTHA GUZMAN ACEVES, Regional Administrator of the U.S.
                  Environmental Protection Agency, Region IX

                                 Respondents.


           On Appeal from the U.S. Environmental Protection Agency
                       Permit No. R9UIC-CA1-FY17-2R


               DECLARATION OF DANIEL COLLINS
         IN SUPPORT OF PETITIONER’S MOTION FOR STAY


                                            K&L GATES LLP
                                            Ankur K. Tohan, WSBA No. 36752
                                            J. Timothy Hobbs, WSBA No. 42665
                                            Shelby R. Stoner, WSBA No. 52837
                                            925 Fourth Avenue, Suite 2900
                                            Seattle, WA 98104-1158
                                            Tel: 206-623-7580
                                            ankur.tohan@klgates.com
                                            tim.hobbs@klgates.com
                                            shelby.stoner@klgates.com

                                            Attorneys for Petitioner
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       I, Daniel Collins, declare under penalty of perjury the following:

       1.     My name is Daniel Collins. I am over the age of eighteen years, I have

personal knowledge of the facts stated herein, and I could and would competently

testify thereto if called as a witness.

       2.     I am Vice President of Geosciences at Geostock Sandia, LLC, a

preeminent supplier of underground storage and underground injection services. In

my role with Geostock Sandia, I regularly provide regulatory consulting for

Underground Injection Control (“UIC”) Class I hazardous and non-hazardous

deepwell disposal sites and Class VI carbon sequestration facilities and direct work

teams in the preparation of state operating permits and Hazardous Waste Disposal

Injection Restrictions (“HWDIR”) Exemption Petition under EPA. Since 2021, I

have provided consulting services to Panoche Energy Center, LLC (“Panoche”)

regarding its facility outside Firebaugh, California (“Facility”).

       3.     I hold a Bachelor of Sciences in Geology from the University of

Delaware, and a Master’s Degree in Geology, also from the University of Delaware.

       4.     I have worked for Geostock Sandia or its predecessor for nearly 27

years. Prior to that, I worked as a Project Director at DuPont Environmental

Remediation Services for approximately 10 years performing essentially the same

kind of work, with additive responsibilities for overseeing environmental

remediation investigations.      My initial work experience was as Geologist with

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Exxon Company, USA. My duties there included exploring for oil and gas resources

on company lease holdings and serving as a liaison with the Exxon Drilling Group

performing well drilling planning.

      5.     Throughout my decades-long career, I have gained expertise in

injectate and groundwater flow model conceptualization and design, transient

pressure test analyses, evaluation of legacy oil and gas well artificial penetrations,

interpreting and mapping subsurface geology/stratigraphy, and wellsite supervision.

These include consulting for sites located in Arkansas, California, Florida, Georgia,

Illinois, Indiana, Kentucky, Louisiana, Mississippi, North Dakota, Oklahoma,

Tennessee, and Texas.         Since 2002, I have provided similar services to

underground carbon dioxide sequestration projects funded by the Department of

Energy and private funding.          A true and correct copy of my resume is

attached hereto as Exhibit A.

                      Panoche’s UIC Class I Permit Process

      6.     I have provided these types of consulting services to Panoche for the

last two and a half years. I was extensively involved in Panoche’s application for a

renewed UIC permit from the U.S. Environmental Protection Agency (“EPA”). I

advised Panoche on the technical aspects of that application, including: pressure

modeling, potential impacts on legacy oil and gas artificial penetrations, and on the

feasibility of drilling a separate well to monitor water quality in the Underground

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Sources of Drinking Water (“USDW”) near the Facility.

        7.   Based on my extensive experience and expertise with permitting of

underground wells, Panoche asked me to evaluate the water quality monitoring well

required under Condition II.E.2 of UIC Permit No. R9UIC-CA1-FY17-2R

(“Permit”) and assess the tasks and costs necessary to construct and operate that

well.

        8.   Condition II.E.2(a) of the Permit requires Panoche to “install one

(1) monitoring well to perform chemical analysis and measure specific conductance

and formation pressure in order to identify potential changes in the USDW” and to

drill this monitoring well “within 100 feet to the south-southwest of the Silver Creek

18 Well,” a plugged and abandoned oil and gas well located about 1.25 miles from

the Facility. Further, EPA specified in Condition II.E.2(b)(i) of the Permit that

Panoche must “[d]rill the wellbore to the base of the USDW, located at the

stratigraphic contact between the Kreyenhagen Shale and the sandy interval in the

overlying Tumey Formation.” Based on my assessment of the geology in this

region, the “stratigraphic contact between the Kreyenhagen Shale and the sandy

interval in the overlying Tumey Formation” is located approximately 3,970 feet

below the land surface. Thus, the monitoring well EPA required in the Permit must

be drilled to approximately 3,970 feet in depth.

        9.   To help demonstrate the location and depths of the relevant wells and

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geologic formations at issue in this case, I prepared a simplified diagram attached

hereto as Exhibit B.

      10.    To my knowledge, all of the abandoned oil and gas wells in the region

have been properly plugged with cement and mud plugs in accordance with

California Geologic Energy Management Division (“CalGEM”) regulations, as well

as witnessed and approved by the same. This includes the Silver Creek 18 Well,

which was initially drilled and then abandoned by a company (which has no

affiliation with Panoche) in the 1970s. Records from the predecessor agency to

CalGEM show that the well was abandoned in 1974 after being plugged with drilling

muds to the bottom of the wellbore, along with three cement plugs placed at various

depths. All of the plugging was performed under the oversight of California

regulators. Attached hereto as Exhibit C is a true and correct copy of the well closure

report for the Silver Creek 18 Well.

      11.    When Panoche evaluated the Silver Creek 18 Well and other wells in

the region, it applied a multi-step risk-based screening methodology. Panoche’s

evaluation analysis uses conservative assumptions in screening, which are consistent

with regulation and guidance in similar geologic settings in the other EPA Regions.

Panoche submitted materials to EPA demonstrating that all the decommissioned

wells within the region, including the Silver Creek 18 Well, were adequately plugged

and abandoned and that no corrective action is required for any of the wells.

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      12.    Although EPA ultimately reached the same conclusion, that no

corrective action is required, it nevertheless conditioned the Permit on Panoche

drilling a monitoring well “within 100 feet to the south-southwest of the Silver Creek

18 Well.”

 EPA’s Offsite Ambient Monitoring Requirement Presents Significant Risks,
               Will Be Expensive, and Poses Other Challenges

      13.    The Silver Creek 18 Well site is located on or near an almond orchard

approximately 1.25 miles from Panoche’s Facility on property that Panoche does not

own or control. Drilling a monitoring well at the precise location specified by EPA

would first require Panoche to gain access to that property through contract or some

other agreement with the landowner. Although EPA states on Page 27 of the Permit

that “issuance of this Permit does not convey property rights of any sort or any

exclusive privilege,” EPA is requiring Panoche to install a monitor well at a specific

location (100 feet from the Silver Creek 18 Well) without any alternative location

proffered should access not be gained.

      14.    Assuming the landowner grants access to Panoche, the drilling of the

monitoring well is risky. Drilling the monitoring well within 100 feet of the Silver

Creek 18 Well presents a high probability that the monitoring well borehole will

collide with the Silver Creek 18 Well. Although deviation surveys were taken in the

Silver Creek 18 Well, the exact track of the well in three dimensions is unknown.

Oil and gas wells are never truly vertical. The CalGEM well records indicate

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wellbore deviations of 0o 30’ to 2o 30’ at depths shallower than 3,900 feet in the

Silver Creek 18 Well. Similar deviations in the monitoring well could quickly close

the well-to-well distance, resulting in a wellbore collision, even at low departures

from being completely vertical.

      15.    The process of drilling an offsite monitoring well will also be

challenging. Prior to constructing a road, clearing two acres of land, or drilling a

3,900-foot-deep monitoring well, Panoche would have to determine whether any

state, county, or local permits are required and obtain all such permits, including

compliance with the California Environmental Quality Act as required. The 120

days schedule to begin construction of the monitoring well following EPA approval

of the drilling plan does not consider the time that may be necessary to obtain other

required permits.

      16.    Assuming Panoche could secure all permits and comply with

environmental reviews, Panoche then have to locate the surface location of the Silver

Creek 18 Well, identify a suitable location within 100 feet to the south-southwest of

that well to drill the new monitoring well as specified by EPA, construct a road to

access that location from the closest existing road, clear approximately two acres of

land around that location, and build a well pad to support drilling operations.

Drilling to a depth of approximately 3,900 feet would require specialized drilling

equipment normally used for oil and gas exploration. A drilling rig of this nature is

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large and heavy and would require the construction of a large pad to support the rig,

which is expected to cover an area of approximately 80 feet by 180 feet. Peripheral

rig support equipment is expected to occupy an additional 75-foot by 125-foot area.

Several truckloads likely would be required to bring in other drilling materials, such

as approximately 1,800 feet of cemented surface casing to seal off freshwater

aquifers, 4,000 feet of drill pipe, 4,000 feet of cemented casing down to the

monitoring interval to place into the wellbore once drilled, 350 thousand pounds

of drilling muds, 155 thousand pounds of cement to seal the casings in the

well bore, drill bits, mud cleaning and processing equipment, equipment to

monitor drilling parameters and pressure in the well, safety equipment, site

support trailers, and other equipment. This equipment would be staged around

the drilling rig in the approximately two acres cleared for this purpose.

      17.    Based on my experience drilling wells like the one required by EPA in

Condition II.E.2 of the Permit, it would be necessary for Panoche to retain the

services of approximately 30 different vendors to complete the drilling of the

monitoring well, and I project that the cost of completing all the foregoing tasks

would be in the range of $3 million to $4 million dollars. These capital costs do not

include any costs associated with the continued operation and maintenance of the

monitoring well or compliance with EPA sampling and reporting requirements.




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The Efficacy of the EPA’s Offsite Ambient Monitoring Condition Is Uncertain

      18.    There is a high level of uncertainty in the efficacy of the proposed

groundwater monitoring program. At this point, we cannot determine whether the

monitoring well is upstream, downstream, or cross-stream from the Silver Creek 18

Well, which may affect what Panoche could learn from the recovered fluid samples.

For example, if the monitoring well is drilled upstream from the Silver Creek 18

Well, any ground water samples that Panoche collects would not indicate whether

the presence of the Silver Creek 18 Well is endangering the USDW.

      19.    In addition, correct analysis of the natural variability of waters at the

lowermost USDW are unknown and may be affected by factors unrelated to

Panoche’s injection activity, such as large-volume freshwater withdrawals for

agriculture and consequent compaction and subsidence in the near surface

(particularly if the mandated well site is located on an almond orchard).

      20.    Based on what we know (from already submitted quarterly monitoring),

the injected waters at Panoche mainly consist of low concentration metals, all of

which are present in native formation brines. These include waters in the lowermost

USDW, which we expect to consist of approximately 10,000 mg/l total dissolved

solids—but it could be higher or lower than that. At the lowermost USDW, there is

a fair amount of natural salt in the native formation fluids that is about one-third that

of seawater. Since there are no unique indicator constituents for either the Panoche

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injection waters (which are relatively fresh) or the native formation brine in the

Panoche Injection Zone, statistical analysis will be the only indicator of water

changes in the monitoring well.

      I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the

foregoing is true and correct.



              
      Dated: _______________

                                      ____________________________________

                                         Daniel Collins




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      EXHIBIT A
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Experience and Qualifications
Daniel J. Collins, CPG, RG                                Dan.Collins@GeostockSandia.com
VP of Geosciences                                                                (346) 314-4347
www.GeostockSandia.com

S UM M A RY
Achieved expertise 40 years of experience in consulting and geological research analyzing subsurface
technical data for consulting, major chemical and petroleum companies. Solid project management
experience in SDWA and RCRA impacted units. Technical skills include subsurface characterization,
ground water flow model conceptualization, process water deepwell disposal, regulations and
permitting, and RCRA corrective action.

PRO FE S S IO N AL E X PE R IE N CE
Geostock Sandia, LLC – VP of Geosciences                                           1997 - Present
Provides principal consulting for Class I hazardous and non-hazardous deepwell disposal sites and
Class VI carbon sequestration facilities. Skills include injectate and groundwater flow model
conceptualization and design, organizing project work teams, interpreting and mapping subsurface
geology/stratigraphy, aquifer test analysis, field activity and wellsite supervision, Land Ban
regulations and document preparation of State Permit Applications and Federal No Migration Petitions
for Class I hazardous and non-hazardous injection wells. Provided principal technical consulting and
project management for first-in-kind carbon sequestration pilot demonstration project in the United
States and direct award DOE projects. Analyzed well and reservoir performance for the saltwater
injection wells as part of the DOE West Hackberry Life Extension II project.

DuPont Environmental Remediation Services – Project Director                           1987 - 1996
Provided principal consulting for 15 Class I hazardous and non-hazardous deepwell disposal sites and
10 facilities under RCRA corrective action. Duties included supervision/leadership of a groups of
professional engineers and geologists generating Land Ban exemption petitions and state permits for
Class I waste injection operations, deepwell feasibility studies, preparation of site work plans for
confirmatory sampling investigations, monitoring well installation and unit closures, facility
acquisition/divestiture assessments, and specific budget, schedule and scope management of over
100 projects. Skills include organizing work teams, interpreting subsurface geology/stratigraphy,
aquifer test analysis, groundwater flow model conceptualization, Land Ban regulations and writing
sections of documents.

   •   Provided technical marketing support to sales force, generating $3.0 million dollars in external
       professional fee revenue and $6.0 million in total revenue over an eight- year period, which
       significantly contributed to the organizations profitability and bottom line. Proven track record
       in securing repeat customer business and sister plant sales.
   •   Performed strategy development and principal consulting for 9 external deepwell Land Ban
       petitions and reissuances for Class I injection sites that have received final agency approval,
       including the first petition approved in Region IV. Conceptual model optimization of site
       conditions and operations in several cases has resulted in the avoidance of immediate well
       shut-down and curtailment of plant production due to subsequent detection of fluid movement
       out of the wells’ completion interval. Either well workover would have been more costly than
       either of the reissuances without including costs for lost production.
   •   Applied regulatory knowledge and plant data to prepare a document of current conditions
       summary report for a RCRA site in the mid-continent region which resulted in the deletion of
       10 of 17 SWMU’s requiring an RFI. This reduction in the number of units requiring an
       investigation will result in significant cost savings to the client.




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Experience and Qualifications
   •   Performed a strategic assessment for a deepwell site in the mid-continent region, integrating
       site specific and regional technical data, regulatory, and corporate goals which resulted in an
       abandonment of the ongoing single-track option to a multi-path option strategy.
   •   Directed an RFI/fenceline monitoring well installation program for a RCRA site in EPA Region
       IV. Tasks consisted of multiple soil borings and the installation of 20 monitoring wells to
       depths between 70 and 130 feet. Fieldwork was completed with no incidents or accidents,
       with over 2,000 exposure hours in the field.
   •   Guided a project team in the performance of structural integrity testing of sumps and basins
       at a RCRA facility in the Gulf Coast. As part of the pre-testing activities, identified potential
       sludge sampling needs in advance of the Phase II Land Disposal Ban. Based on the analytical
       results, the project timeline was expedited for two of the sumps, which were cleaned and
       tested, with sludges disposed in advance of the land ban, resulting in documented cost savings
       of $50,000 to the client.
   •   Conducted an environmental assessment of an oil and gas lease acquisition in the Austin
       Chalk play which identified several areas of concern for potential endangerment of
       groundwater resources and future compliance costs under the underground injection
       program. The assessment recommendations were negotiated into the sale document, saving
       the client $200,000 in upgrade costs and potential future liabilities.
   •   Directed a field team in the performance of a site assessment of an abandoned oilfield service
       company facility in west Texas and prepared the site assessment report. Results of the
       assessment showed that the contaminants were solely related to underground storage tanks
       which can be closed under the petroleum storage tank regulations. The remaining areas of
       concern were closed under Standard 1 of the Risk Reduction Rules.

Exxon Co., USA - Senior Geologist                                                  1982 - 1987
Responsible for generating oil and gas exploration prospects on company lease holdings and State
waters, developing regional subsurface structure maps and models of paleo-depositional patterns,
analyzing well logs for hydrocarbon potential and monitoring industry activity.

Geologist
Responsible for implementing a detailed study of a producing oil and gas field and recommending
additional infill/step-out drilling locations. Evaluated geological hazards and prepared drilling
programs with engineering department for the district’s wildcat wells. Performed well site evaluation
of drilling parameters for abnormal pressure detection and wellsite geophysical well log evaluation
for hydrocarbons.

E D UC A T I O N/ CE RT IF I C AT IO NS
Masters of Science, Geology - University of Delaware, 1980-1982
Bachelors of Science, Geology - University of Delaware, 1976-1980

Registered Geologist - State of Arkansas (Registration No. 1286)
Registered Geologist - State of Louisiana (License No. 608)
Registered Geologist - State of Mississippi (Registration No. 0254)
Registered Geologist - State of Texas (License No. 1290)

Production Systems Analysis Using PROSPER & MBAL                           2001
Visual MODFlow, Waterloo Hydrogeologic (NWWA)                              1996
Falloff Test Analysis, RDS, Inc.                                           1995
OSHA Supervisors Training, DuPont                                          1992
OSHA Training, DuPont                                                      1988
Fundamentals of RCRA, DuPont                                               1988
Risk Assessment Methods, Exxon                                             1985



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Experience and Qualifications
Structural Analysis, Exxon                                                  1985
Reservoir Geology, Exxon                                                    1985
Operations Geology, Exxon                                                   1984
Advanced Well Analysis, Schlumberger                                        1984
Hydrocarbon Well Logging, EG&G                                              1983
Basic Well Logging, Exxon                                                   1983


PROFFESIONAL ASSOCIATIONS
American Association of Petroleum Geologists
Groundwater Protection Council


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M. L., Collins, D. J., Implications for carbon sequestration of seismic reflection geometry and
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at the Northern End of the Newark Basin: Carbon Sequestration Conference Proceedings, Eleventh
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Site Characterization Project – Study of the Triassic-aged Newark Basin; Carbon Sequestration
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Design of research well instrumentation for a long-duration CO2 flood the Southeast Carbon
Sequestration Partnership (SECARB) Phase III DAS Cranfield Project: Carbon Sequestration
Conference Proceedings, Ninth Annual Conference on Carbon Sequestration, Paper 880, Pitt., Pa.




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thickness for EPA no-migration petition modeling; Published in the proceedings of the 1999 Annual
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injectate plume: An analytical model approach; Underground Injection Control Workshop
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      EXHIBIT B
                                             Case: 23-1268, 06/23/2023, DktEntry: 5.3, Page 17 of 36                                                                                                                   (17 of 36)

                                                 ~1.25 MILES


                               INJECTION                                 SILVER CREEK 18 WELL                           EPA – IMPOSED
                                                                                                                   M
                               WELLS                                             (ABANDONED)                       W    MONITORING WELL


                                                                                                                                                                                                             SURFACE

                                           UTILIZED GROUNDWATER




                                                       USDW
                                                                                                                           BASE OF USDW




                                                                                                                                                                              CONFINING
                                                                                                                                                                               LAYER #1

                                              SANDSTONE INTERVAL


                                                                                                                                                                              CONFINING
                                                                                                                                                                               LAYER #2



                 ~7,200 FEET                  INJECTION ZONE




INDEX MAP AREA
                                                                                                                                                           EXHIBIT B
                                                                                                                                                                             SIMPLIFIED SUBSURFACE GEOLOGIC CROSS
                                                                                                                                                                               SECTION ILLUSTRATION FOR PANOCHE
                                                                                                                                                                                       ENERGY CENTER - AOI
                                                                                                                                                                                FIREBAUGH, CALIFORNIA (FRESNO COUNTY)

                                                                                                                                                                PROJECT INFO:                               SCALE INFO:
                                                                                                                                                    SUPPORT OF PETITIONER PANOCHE ENERGY      NOT TO SCALE FOR ILLUSTRATION PURPOSE
                                                                                                                                                                 CENTER, LLC                                   ONLY

                                                                                                                                                                          PROJECT NAME:    BY: ESSJ - GKS               SHEET
                                                                                                                                                    DATE: 06/16/2023        200113KPC      CHECK BY: DJC - GKS          1 OF 1




                                                                                                         DECLARATION OF DAN COLLINS IN SUPPORT OF
                                                                                                          PETITIONER PANOCHE ENERGY CENTER, LLC’S
                                                                                                       EMERGENCY MOTION FOR STAY PENDING APPEAL
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                      CERTIFICATE OF SERVICE

       I hereby certify that on June 23, 2023, I arranged for the foregoing
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                                             /s/ Abigail Belscher
                                             Abigail Belscher
